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 PS 8                                                                           Filed by the Clerk
 (Rev 5/10)             UNITED STATES DISTRICT COURT
                                        for
                              District of Minnesota

U.S.A. vs. Gisela Castro Medina                   Docket No. 0864 0:21CR00173-002(PJS/DTS)


                       Petition for Action on Conditions of Pretrial Release

        COMES NOW Michael F. Alberts, U.S. PROBATION OFFICER OF THE COURT,
presenting an official report upon the conduct of Gisela Castro Medina who was placed under
pretrial supervision by the Honorable Becky R. Thorson, sitting in the Court at St. Paul on the
23rd day of September, 2021, under the following special conditions:

         •        Pretrial Services Supervision
         •        Obtain No New Passport
         •        Travel Restrictions
         •        No Contact with Victim/Witness
         •        No Contact with Co-Defendant
         •        Halfway House
         •        Weapons Restriction
         •        No Illegal Use of Controlled Substances
         •        Substance Abuse Testing
         •        No Tampering with Substance Abuse Testing
         •        Report Contact with Law Enforcement
         •        Location Monitoring Program
         •        Report to Law Enforcement
         •        Computer/Internet Restrictions
         •        Computer Search
         •        Drug Treatment
         •        Alcohol Abstinence
         •        Mental Health Evaluation/Treatment
         •        Maintain Address as Approved
         •        No Contact with Minors
         •        Search/Seizure
         •        No Possession of Pornographic Materials

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

Since September 23, 2021, Gisela Castro Medina has resided in a Court-ordered halfway house
while participating in substance abuse and mental health programing. During this time, she has
successfully completed six Court-approved visits to the home of her parents. Given her overall
progress, it is recommended the defendant be allowed to release from the halfway house to reside
with her family. In addition, it is recommended the condition restricting contact with minors be
modified to allow contact with immediate minor family members. Defense counsel supports this
recommendation. The Government does not object to the proposed changes.
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Petition for Action on Conditions of Pretrial Release     RE: Gisela Castro Medina
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PRAYING THAT THE COURT WILL ORDER:

The removal of the condition of pretrial release requiring the defendant to maintain residence at a
halfway house or community corrections center as approved by the U.S. Probation and Pretrial
Services office or supervising officer considers necessary and observe the rules and regulations of
that facility.

In addition, it is recommended the Court modify the current condition of release restricting minor
contact as follows:

       Aside from immediate family members, the defendant shall not associate with
       persons under the age of 18 except in the presence of a responsible adult who is
       aware of the nature of the defendant’s background and current offense and who has
       been approved by the probation officer.

All other conditions as previously imposed shall remain in effect.


          ORDER OF THE COURT                             I declare under penalty of perjury that the
                                                         foregoing is true and correct.
                                   25th
Considered and ordered this __________        day
        March
of __________________, 2022, and ordered                 s/ Michael Alberts
filed and made a part of the records in the above
case.                                                    Michael F. Alberts
                                                         Senior U.S. Probation Officer
                                                         612-664-5354
Honorable David T. Schultz                               Executed on     March 23, 2022
U.S. Magistrate Judge
                                                         Place           Minneapolis

                                                         Approved:

                                                         s/ Odell Wilson III
                                                         Odell Wilson III
                                                         Supervising U.S. Probation Officer
